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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    -------------------------------------------------------------------x
    In re                                                              :   Chapter 11 Case No.
                                                                       :
    LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                       :
                                        Debtors.                       :   (Jointly Administered)
    -------------------------------------------------------------------x

            SECOND SUPPLEMENTAL ORDER GRANTING DEBTORS’ ONE
            HUNDRED SIXTY-SECOND OMNIBUS OBJECTION TO CLAIMS
                       (VALUED DERIVATIVE CLAIMS)

                     Upon the one hundred sixty-second omnibus objection to claims, dated

    July 11, 2011 (the “One Hundred Sixty-Second Omnibus Objection to Claims”),1 of

    Lehman Brothers Holdings Inc. and its affiliated debtors in the above-referenced chapter

    11 cases, as debtors and debtors in possession (collectively, the “Debtors”), pursuant to

    section 502(b) of title 11 of the United States Code (the “Bankruptcy Code”), Rule

    3007(d) of the Federal Rules of Bankruptcy Procedure, and this Court’s order approving

    procedures for the filing of omnibus objections to proofs of claim [Docket No. 6664] (the

    “Procedures Order”), seeking to reduce, reclassify (in certain instances), and allow the

    Valued Derivative Claims on the basis that the amounts listed on the proofs of claim are

    greater than the fair, accurate, and reasonable values determined by the Debtors after a

    review of the claimants’ supporting documentation and the Debtors’ books and records,

    and that the classifications (in certain instances) are improperly identified as secured,

    administrative expenses or priority claims on claimants’ proofs of claim, all as more fully

    described in the One Hundred Sixty-Second Omnibus Objection to Claims; and due and

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             Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed
    to such terms in the Debtors’ One Hundred Sixty-Second Omnibus Objection to Claims.
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    proper notice of the One Hundred Sixty-Second Omnibus Objection to Claims having

    been provided to (i) the U.S. Trustee; (ii) the attorneys for the Creditors’ Committee; (iii)

    the Securities and Exchange Commission; (iv) the Internal Revenue Service; (v) the

    United States Attorney for the Southern District of New York; (vi) the claimants listed on

    Exhibit A attached to the One Hundred Sixty-Second Omnibus Objection to Claims; and

    (vii) all other parties entitled to notice in accordance with the procedures set forth in the

    second amended order entered on June 17, 2010 governing case management and

    administrative procedures for these cases [Docket No. 9653]; and upon the resolution of

    Proof of Claim number 67144 filed by ElimPark Baptist Home, Inc.; and it appearing that

    no other or further notice need be provided; and the Court having found and determined

    that the relief sought in the One Hundred Sixty-Second Omnibus Objection to Claims is

    in the best interests of the Debtors, their estates, creditors, and all parties in interest and

    that the legal and factual bases set forth in the One Hundred Sixty-Second Omnibus

    Objection to Claims establish just cause for the relief granted herein; and after due

    deliberation and sufficient cause appearing therefore, it is

                    ORDERED that the relief requested in the One Hundred Sixty-Second

    Omnibus Objection to Claims is granted to the extent provided herein; and it is further

                    ORDERED that each Valued Derivative Claim listed on Exhibit 1

    annexed hereto is hereby modified and allowed in the amount set forth on Exhibit 1 under

    the column heading “Modified Amount” and any asserted amount in excess of the

    modified amount is disallowed; and it is further

                    ORDERED that this Order has no res judicata, estoppel, or other effect on

    the validity, allowance, or disallowance of, and all rights to object and defend on any


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    basis are expressly reserved with respect to any claim listed on Exhibit A to the One

    Hundred Sixty-Second Omnibus Objection to Claims that does not appear on Exhibit 1

    annexed hereto; and it is further

                   ORDERED that this Court shall retain jurisdiction to hear and determine

    all matters arising from or related to this Order.



    Dated: New York, New York
           August 24, 2012
                                                  s/ James M. Peck
                                                UNITED STATES BANKRUPTCY JUDGE




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